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                                            January 5, 2024


  VIA ECF
  Honorable Brian R. Martinotti, U.S.D.J.
  United States District Court
  District of New Jersey
  U.S. Post Office & Courthouse
  2 Federal Square
  Newark, NJ 07102

         Re: In re: Insulin Pricing Litigation, No. 2:23-md-03080-BRM-RLS
             MDL No. 3080

  Dear Judge Martinotti:

         On behalf of the parties, we write to advise the Court that the parties met and conferred
  this week about the ESI protocol and the Protective Order.

         Thank you for your continuing attention to this matter.

  Respectfully submitted,


   /s/ James E. Cecchi                              /s/ Joanne Cicala
   James E. Cecchi                                  Joanne Cicala
   Liaison Counsel for                              Liaison Counsel for
   Third-Party Payer Track                          The State Attorneys General Track

   /s/ David R. Buchanan                            /s/ John D. Tortorella
   David R. Buchanan                                John D. Tortorella
   Liaison Counsel for
   Self-Funded Payer Track


  cc:    All counsel of record
